          Case 17-03414 Document 15 Filed in TXSB on 06/05/18 Page 1 of 1



                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                      §
                                            §       Case No. 17-34283
Robert R. Fretz, Jr.,                       §
                                            §       Chapter 7
     Debtor.                                §
SKAI Foundation,                            §
     Plaintiff,                             §
                                            §
v.                                          §       Adv. No. 17-3414
                                            §
Robert R. Fretz, Jr.,                       §
      Defendant.                            §

                                NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that the parties to this adversary proceeding have reached a
resolution of this suit in principle. Upon execution of the final settlement agreement, Plaintiff
shall dismiss this adversary proceeding with prejudice.

         Dated: June 5, 2018.
                                                    Respectfully submitted,

                                             By:    /s/ Aaron J. Power
                                                    Aaron J. Power
                                                    Porter Hedges LLP
                                                    State Bar No. 24058058
                                                    1000 Main Street, 36th Floor
                                                    Houston, Texas 77002
                                                    (713) 226-6000
                                                    (713) 228-1331 (fax)

                                                    Counsel for Plaintiff

                                                    and

                                                    /s/ Johnie Patterson
                                                    Johnie Patterson
                                                    Walker & Patterson P.C.
                                                    P.O. Box 61301
                                                    Houston, TX 77208
                                                    (713) 956-5577
                                                    (713) 956-5570 (fax)

                                                    Counsel for Defendant
